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                                       In the
              United States Court of Appeals
                          For the Seventh Circuit
                             ____________________

         No. 24-1404
         MIKO THOMAS,
                                                         Plaintiff-Appellant,
                                         v.

         JBS GREEN BAY, INC.,
                                                        Defendant-Appellee.
                             ____________________

                     Appeal from the United States District Court
                         for the Eastern District of Wisconsin.
                     No. 23-C-861 — William C. Griesbach, Judge.
                             ____________________

            ARGUED OCTOBER 29, 2024 — DECIDED NOVEMBER 8, 2024
                         ____________________

            Before  EASTERBROOK,                JACKSON-AKIWUMI,        and
         MALDONADO, Circuit Judges.
             EASTERBROOK, Circuit Judge. In this suit under Title VII of
         the Civil Rights Act of 1964, 42 U.S.C. §2000e to §2000e–17,
         Miko Thomas contends that his employer, JBS Green Bay, dis-
         criminated against him on account of his color. His complaint
         alleges seven discriminatory acts or related sets of acts, of
         which we discuss three: (1) the employer delayed for three
         years his training on a particular machine; (2) the employer
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         denied his request for vacation time while granting equiva-
         lent requests by other workers; and (3) the employer trans-
         ferred him to a diﬀerent shift even though it knew that this
         caused him problems in raising a young child.
             The district court dismissed the complaint under Fed. R.
         Civ. P. 12(b)(6) for failure to state a claim on which relief may
         be granted. 2023 U.S. Dist. LEXIS 219755 (E.D. Wis. Dec. 11,
         2023). After Thomas amended the complaint, the district court
         dismissed the suit outright. 2024 U.S. Dist. LEXIS 48841 (E.D.
         Wis. Feb. 15, 2024). The judge saw two problems that ran
         through both complaints: ﬁrst, the events of which Thomas
         complains are not suﬃciently serious to be cognizable under
         Title VII; second, the complaints did not lay out every element
         or ingredient that Thomas eventually would need to prove. In
         other words, the judge demanded that the complaint include
         allegations corresponding to each component of the proof
         that Thomas would need to defeat a motion for summary
         judgment. Both aspects of the judge’s decisions are mistaken.
             Whether or not the ﬁrst aspect (insuﬃcient injury) re-
         ﬂected circuit law at the time, it has been overtaken by Mul-
         drow v. St. Louis, 601 U.S. 346, 355 (2024), which says that a
         Title VII plaintiﬀ “must show some harm respecting an iden-
         tiﬁable term or condition of employment. What the [plaintiﬀ]
         does not have to show, according to the relevant text, is that
         the harm incurred was ‘signiﬁcant.’ Or serious, or substantial,
         or any similar adjective suggesting that the disadvantage to
         the employee must exceed a heightened bar” (cleaned up).
         Decisions requiring allegations of “signiﬁcant” or “material”
         injury did not survive Muldrow.
            Each of the three things we have mentioned entails “some
         harm”. Deferred training can mean deferred promotions or
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         deferred raises. Denial of one’s preferred vacation schedule
         can make the vacation less pleasant—not just because it may
         end up oﬀ-season at the destination but also because the goal
         of a vacation may be to see family members who will not be
         available at a diﬀerent time. Title VII does not permit employ-
         ers to conﬁne that pleasure to workers of particular colors; it
         must distribute fringe beneﬁts equally. Likewise with the
         third allegation: if the employer considers family circum-
         stances when assigning shifts, it must do so without regard to
         color, because inability to care for a child is a deeply felt loss
         for all parents.
            Demanding details about loss in the complaint—as op-
         posed to the summary-judgment stage—also is a problem be-
         cause complaints need not plead damages. Special damages
         yes, see Fed. R. Civ. P. 9(g), but ordinary injuries no. Prevail-
         ing parties receive the relief to which they are entitled, no
         matter what was in (or missing from) the complaint. Fed. R.
         Civ. P. 54(c). Complaints must allege some injury (otherwise
         the plaintiﬀ lacks standing), but they need not narrate the
         quantum of injury. That’s for a later stage.
             The second aspect of the district court’s decision—a de-
         mand that the complaint allege each element that the plaintiﬀ
         eventually will need to prove—was contrary to law long be-
         fore Muldrow. Matching facts to legal elements is the distinc-
         tive feature of code pleading, which was abrogated when the
         Rules of Civil Procedure introduced notice pleading. See, e.g.,
         Bartholet v. Reishauer A.G. (Zürich), 953 F.2d 1073 (7th Cir.
         1992); Chapman v. Yellow Cab Cooperative, 875 F.3d 846 (7th Cir.
         2017). We explained in Chapman:
            Ever since their adoption in 1938, the Federal Rules of Civil Pro-
            cedure have required plaintiﬀs to plead claims rather than facts
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             corresponding to the elements of a legal theory. See Fed. R. Civ.
             P. 8. Old code-pleading and fact-pleading systems were aban-
             doned. Because complaints need not identify the applicable law,
             it is manifestly inappropriate for a district court to demand that
             complaints contain all legal elements (or factors) plus facts corre-
             sponding to each.
             It is enough to plead a plausible claim, after which “a plaintiﬀ ‘re-
             ceives the beneﬁt of imagination, so long as the hypotheses are
             consistent with the complaint’”. A full description of the facts that
             will prove the plaintiﬀ’s claim comes later, at the summary-judg-
             ment stage or in the pretrial order.

         875 F.3d at 848 (citations omitted). “Because racial discrimina-
         tion in employment is ‘a claim upon which relief can be
         granted’, [such a] complaint [may] not be dismissed under
         Rule 12(b)(6). ‘I was turned down for a job because of my race’
         is all a complaint has to say.” Bennett v. Schmidt, 153 F.3d 516,
         518 (7th Cir. 1998).
             Any doubt about this was dispelled by Swierkiewicz v.
         Sorema N.A., 534 U.S. 506 (2002). A court of appeals held that
         Title VII complaints must allege facts establishing a prima fa-
         cie case of discrimination: “(1) membership in a protected
         group; (2) qualiﬁcation for the job in question; (3) an adverse
         employment action; and (4) circumstances that support an in-
         ference of discrimination”, 534 U.S. at 510—in other words,
         must narrate all elements of a winning claim. The Justices re-
         plied that these elements set out an evidentiary standard, not
         a pleading rule. Ibid. They added: “This Court has never indi-
         cated that the requirements for establishing a prima facie case
         … also apply to the pleading standard that plaintiﬀs must sat-
         isfy in order to survive a motion to dismiss.” Id. at 511. The
         Court wrapped up: “we hold that an employment discrimi-
         nation plaintiﬀ need not plead a prima facie case of discrimi-
         nation”. Id. at 515. Later cases about Rule 8 do not cast any
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         doubt on Swierkiewicz. See, e.g., Bell Atlantic Corp. v. Twombly,
         550 U.S. 544, 569–70 (2007); Luevano v. Wal-Mart Stores, Inc.,
         722 F.3d 1014, 1028 (7th Cir. 2013); Swanson v. Citibank, N.A.,
         614 F.3d 400, 404–05 (7th Cir. 2010).
              Despite Swierkiewicz, the district court demanded that
         Thomas’s complaint narrate facts corresponding to elements.
         For example, Thomas maintains that the conditions he en-
         countered add up to a hostile work environment. The judge
         wrote that “[t]o state a hostile work environment claim, a
         plaintiﬀ must allege that (1) he was subject to unwelcome har-
         assment, (2) the harassment was based on his color, (3) the
         harassment was severe or pervasive so as to alter the condi-
         tions of employment and create a hostile or abusive working
         environment, and (4) a basis exists for employer liability.”
         2024 U.S. Dist. LEXIS 48841 at *8–9. The district court’s opin-
         ions contain similar lists addressing some of Thomas’s other
         grievances. This is the exact requirement rejected by the Su-
         preme Court in Swierkiewicz. That something must be proved
         (if plaintiﬀ is to win) does not imply that it must be alleged in
         the complaint. Thomas’s appellate brief relies on Swierkiewicz;
         the employer’s brief does not so much as cite the case. The
         omission is telling.
             To repeat what the Justices said: Lists of things that plain-
         tiﬀs need to prove concern evidence (at summary judgment
         and trial); they must not be treated as demands for longer and
         more detailed pleadings. We appreciate that district judges
         may be impatient with suits that do not seem promising, be-
         cause the judges doubt that plaintiﬀs will be able to marshal
         enough evidence to get to trial. But the time to demand evi-
         dence is the summary-judgment stage. All the complaint need
         do is state a grievance. Details and proofs come later.
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             This case must move to the summary-judgment stage and,
         if necessary, to trial. We have mentioned only some of
         Thomas’s seven principal allegations; the others do not aﬀect
         the suﬃciency of the complaint. If they are deﬁcient, they can
         be pared oﬀ on summary judgment. All we hold today is that
         this complaint states a claim for relief that survives a motion
         under Rule 12(b)(6).
                                             REVERSED AND REMANDED
